        Case 1:23-cr-00239-CKK         Document 126       Filed 09/06/24      Page 1 of 1



                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                   Plaintiff,

       v.
                                                          Case No. 1:23-cr-00239
ILYA LICHTENSTEIN, and
HEATHER MORGAN                                             Judge Colleen Kollar-Kotelly
                     Defendants.


                  MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Local Criminal Rule 44.1(c), Defendant Ilya Lichtenstein moves for the

admission and appearance of attorney Jason M. Ecker pro hac vice in the above-entitled action.

The motion is supported by the Declaration of Jason M. Ecker, filed herewith. As set forth in the

Declaration, Mr. Ecker is admitted and an active member in good standing in the following courts

and bars: the State of New York, the Southern District of New York, the Eastern District of New

York, and the Second Circuit U.S. Court of Appeals. This motion is supported and signed by

Angela Collins, an active and sponsoring member of the Bar this Court.



Dated: September 6, 2024                        Respectfully submitted,


                                                /s/ Angela F. Collins______________
                                                Angela F. Collins
                                                DC Bar #473891
                                                CAHILL GORDON & REINDEL LLP
                                                1990 K Street, NW
                                                Suite 950
                                                Washington D.C. 20006
                                                Telephone: (202) 862-8930
                                                acollins@cahill.com
